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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF WISCONSIN

    CHERYL SHOCKLEY,                             )
                                                 )
                Plaintiff,                       )
                                                 )     Case No.: 3:21-cv-00444
    v.                                           )
                                                 )
    INTEGRA CREDIT TWO, LLC; and                 )
    CLARITY SERVICES, INC.,                      )
                                                 )
                Defendants.                      )

                                    NOTICE OF REMOVAL

         Defendant Integra Credit Two, LLC (“Integra”), by counsel, and pursuant to 28 U.S.C.

§§ 1441 and 1446, hereby removes the above-entitled action, which is currently pending in

the Circuit Court of Douglas County, Wisconsin, and states as follows:

                                          Background

         1.     On June 10, 2021, Plaintiff Cheryl Shockley (“Plaintiff”) filed a Complaint

against Integra in the Circuit Court of Douglas County, Wisconsin, alleging that Integra

violated the Fair Credit Reporting Act (“FCRA”), 15 U.S.C. §§ 1681, et seq., and invaded her

privacy in violation of Wis. Stat. § 995.50. (Copies of the Summons and Complaint are

attached as Exhibit A.)

         2.     The Summons and Complaint constitute “all process, pleadings, and orders

served upon” Integra in this action, to date. 28 U.S.C. § 1446(a).1

                                    Timeliness of Removal

         3.     Integra was purportedly served with a copy of the Summons and Complaint



1Integra will request copies of all documents filed in state court—but not served on Integra—and
will file them with the Court.
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on June 14, 2021. (A copy of the Affidavit of Service filed with the state court is attached as

Exhibit B.) Therefore, this notice of removal is timely under 28 U.S.C. § 1446(b) because

less than 30 days have passed since Integra was served with Plaintiff’s Complaint.

                                     Removal Jurisdiction

       4.      This action is properly removable under 28 U.S.C. § 1441 because this Court

has original federal jurisdiction of this case under 28 U.S.C. § 1331, which provides in

pertinent part: “The district courts shall have original jurisdiction of all civil actions arising

under the Constitution, laws, or treaties of the United States.” 28 U.S.C. § 1331.

       5.      Specifically, Plaintiff alleges that Integra violated the FCRA by accessing her

credit report without a permissible purpose, 15 U.S.C. § 1681b. (Compl. ¶¶ 85-91, 99-102,

106-110, 112.) Hence, this is a civil action “arising under the Constitution, laws, or treaties

of the United States” pursuant to Section 1331, and removal is appropriate pursuant to 28

U.S.C. §§ 1441 and 1446.

       6.      Plaintiff’s state law claim for invasion of privacy under Wis. Stat. § 995.50 is

similarly based on her allegation that Integra improperly accessed her credit report.

(Compl. ¶¶ 119-136.) Accordingly, the Court may exercise supplemental jurisdiction over

that claim, as it is “part of the same case or controversy” as Plaintiff’s FCRA claim. 28 U.S.C.

§ 1367(a).

       7.      Removal to this Court is proper as the United States District Court for the

Western District of Wisconsin embraces Douglas County, Wisconsin, where the state court

action was filed. See 28 U.S.C. § 1441(a).

                                      Consent to Removal

       8.      As of the filing of this Notice, no affidavit of service has been filed as to co-



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defendant Clarity Services, Inc. (“Clarity”); accordingly, Integra is informed and believes

that Clarity has not been served. Therefore, Clarity’s consent to removal is not required. See

28 U.S.C. § 1446(b)(2)(A).

                                    Notice to State Court

       9.     Pursuant to 28 U.S.C. § 1446(d), Integra is promptly providing written notice

of its removal to Plaintiff and will promptly file a copy of this Notice of Removal with the

Clerk of the Circuit Court of Douglas County, Wisconsin.

       WHEREFORE, Defendant Integra Credit Two, LLC respectfully requests that the

above-entitled action be removed from the Circuit Court of Douglas County, Wisconsin, to

this Court.

Dated: July 9, 2021                                Respectfully submitted,

                                                   INTEGRA CREDIT TWO, LLC

                                               By: /s/ Jeffrey D. Pilgrim____
                                                  One of its attorneys
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                                 CERTIFICATE OF SERVICE

       Jeff Pilgrim, an attorney, certifies that on July 9, 2021, he electronically filed the
foregoing Notice of Removal with the Clerk of the Court by using the CM/ECF system, and
also sent a copy of the same by via electronic mail to:

        Eric Leighton Crandall
        Crandall Law Firm, S.C.
        421 West Second Street
        PO Box 27
        New Richmond, WI 54017
        Wisconsinconsumerlaw@frontier.com



                                                       /s/ Jeffrey D. Pilgrim____
